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                            In the Matter of:

                              Jane Doe
                                  v.
                           Barbazette, et. al.

                             William Woolf

                             August 31, 2022
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          1                   UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
          2                       (Alexandria Division)

          3

          4    ------------------------------------:
               JANE DOE,                           :
          5                                        :
                              Plaintiff,           :
          6                                        : Case No.:
                       v.                          : 1:21-cv-1150
          7                                        :
               FAIRFAX POLICE OFFICER #1, et al., :
          8                                        :
                                                   :
          9                  Defendants.           :
               ------------------------------------:
         10
                                                            Fairfax, Virginia
         11
                                                Wednesday, August 31, 2022
         12
               Videotaped Deposition of:
         13

         14                           WILLIAM WOOLF,

         15    called for examination by counsel on behalf of

         16    defendants, pursuant to Notice, at the County Office

         17    Building, 12000 Government Center Parkway, Suite

         18    549, Fairfax, Virginia, at approximately 10:02 a.m.,

         19    before Christina Patino, a Certified Verbatim

         20    Reporter, and Notary Public in and for the

         21    Commonwealth of Virginia, when were present on

         22    behalf of the respective parties.


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          1                       A P P E A R A N C E S

          2    On behalf of Plaintiff:

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                      Victor M. Glasberg & Associates
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          6
               On behalf of Defendants Edwin Roessler, James
          7    Baumstark, and Vincent Scianna.:

          8           KIMBERLY P. BAUCOM, ESQUIRE
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                      Fairfax, Virginia 22035
         10           (703) 324-2704

         11
               On behalf of Defendants Jason Mardocco and Mike
         12    Barbazette.:

         13           HEATHER K. BARDOT, ESQUIRE
                      McGavin, Boyce, Bardot, Thorsen & Katz, PC.
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                      Suite 400
         15           Fairfax, Virginia 22030
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         16

         17    On behalf of William Woolf:

         18           STEPHEN COCHRAN, ESQUIRE
                      Roeder, Cochran, Phillips, PLLC
         19           8280 Greensboro Drive
                      Suite 550
         20           McLean, Virginia 22102
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         21

         22    ALSO PRESENT:      Bill Casamo, Videographer


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          1    police department?

          2           A       That's correct.

          3           Q       Were the circumstances or, I guess, did

          4    the information that you received include

          5    information that Barbazette had been placed on

          6    administrative leave?

          7           A       I don't recall if that was -- I mean,

          8    possibly.

          9           Q       During those conversations did you also

         10    hear information or discuss Jason Mardocco?

         11           A       I wasn't -- I wasn't familiar with

         12    Mr. Mardocco.       It may have been mentioned that

         13    there was another individual involved, but to the

         14    best of my recollection, I did not work alongside

         15    Mr. Mardocco during my employment with the police

         16    department.

         17           Q       When did you leave the police department?

         18    When did you resign?

         19           A       The -- September 30th, 2017.

         20           Q       Prior to you calling Mr. Glasberg to let

         21    him know that you had knowledge about the case, had

         22    you ever met him before?


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          1           Q       All right.   So let me rephrase the

          2    question.       All of the people who became defendants

          3    in this lawsuit were people whose names you

          4    provided to Mr. Glasberg, correct?

          5           A       Yes, I did provide those names.

          6           Q       All right.   And with regard to

          7    Barbazette, who I'll talk with you about later.

          8    Put him aside for a minute.          My other client,

          9    Mardocco, what prompted you to provide his name to

         10    Mr. Glasberg?

         11                   MR. GLASBERG:    Object to the form of the

         12    question, but go -- go ahead and answer if you can.

         13                   THE WITNESS:    I -- I don't believe I

         14    provided that name.

         15    BY MS. BARDOT:

         16           Q       Okay.   So that is not a name that you

         17    suggested or spoke about with Mr. Glasberg?

         18           A       No, ma'am.

         19

         20

         21

         22                                     Is that accurate?


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          1           A       Correct, I have no direct knowledge.

          2           Q       Okay.   And did you even know Mardocco

          3    when you worked at the department?

          4           A       I -- I don't recall him from my time at

          5    the --

          6           Q       Okay.

          7           A       -- police department.

          8           Q       All right.    So to the extent that you

          9    have provided information that's contained within

         10    the second amended complaint, your information does

         11    not pertain to Mr. Mardocco?

         12           A       Correct.

         13           Q       Okay.   And then I'm going to show you

         14    what's been -- what's going to be marked as the

         15    next exhibit.

         16                   MS. BARDOT:    It should be 39.

         17                   (Woolf Exhibit Number 39 was marked for

         18                   identification.)

         19    BY MS. BARDOT:

         20           Q       And I'll represent to you that this is

         21    the first amended complaint that was filed on

         22    December 16, 2021.        And if you turn to page six, in


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          1                   MS. BARDOT:    Is it 40?

          2                   THE WITNESS:    39.    Or no.   40.    You're

          3    right.     I'm sorry.

          4                   MS. BARDOT:    Okay.

          5                   (Woolf Exhibit Number 40 was marked for

          6                   identification.)

          7    BY MS. BARDOT:

          8           Q       Look through this document, if you would,

          9    and when you're done perusing it, let me know.

         10           A       Yes.

         11           Q       Do you recognize anything listed on

         12    Exhibit 40 to be a class which you taught at the

         13    Fairfax County Criminal Justice Academy?

         14           A       Specific to human trafficking?

         15           Q       Yes.

         16           A       I -- I -- I'm not sure what these generic

         17    human trafficking ones are.           It -- it's very

         18    difficult to tell from this --

         19           Q       Okay.

         20           A       -- without context.

         21           Q       Did Jason Mardocco ever attend any class

         22    that you gave at the Fairfax County Criminal


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          1    Justice Academy that touched on the topic of human

          2    sex trafficking?

          3           A       I do not know.

          4           Q       How about Barbazette?

          5           A       He was with me for some of the roll call

          6    trainings and --

          7           Q       Okay.   My question is specific to the

          8    academy.

          9           A       Oh, to the academy.       So he would have

         10    been there during the gang school when I taught

         11    a -- a block on trafficking.

         12           Q       Okay.   When was that?

         13           A       I would have to look.       I don't know.     We

         14    taught gang school, I think, twice a year.

         15           Q       And how do you know he would have been

         16    there?

         17           A       Because he would routinely come to the

         18    classes.

         19           Q       Okay.   You haven't looked at his training

         20    records to see what he was actually at, have you?

         21           A       Well, there wouldn't be a training record

         22    for that because as the supervisor of the unit, he


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          1    would just come as the supervisor.            He wouldn't

          2    register for that course.

          3           Q       Okay.   So you wouldn't be able to say

          4    what courses, if any, he was actually at, correct?

          5           A       No, I can't.

          6           Q       And you wouldn't know if he came to one

          7    of those twice-a-year events, whether he stayed for

          8    part of it or all of it, correct?

          9           A       Correct.

         10           Q       And so if Mike Barbazette said that he

         11    did not receive training at the Fairfax

         12    caddy (sic) -- Fairfax County Criminal Justice

         13    Academy on human sex trafficking, you wouldn't know

         14    whether that's true or not, correct?

         15           A       I do recall him being there when I taught

         16    my class and -- as part of the gang school.

         17           Q       When?

         18           A       He was not a registered participant.

         19           Q       Okay.   When?

         20           A       I'd -- I'd have to think on the date.           I

         21    have -- I have no idea because we taught it so many

         22    times.


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           1          Q        How many times do you recall him being

           2    present at the academy when you gave a talk on

           3    human sex trafficking?

           4          A        One.

           5          Q        Okay.   And with respect to the roll call

           6    trainings, how many times did you give any sort of

           7    roll call training on human sex trafficking?

           8          A        I don't have a specific number.         It was

           9    quite a bit.

          10          Q        All right.   That doesn't help me.        Can

          11    you give me an estimate?

          12          A        So there are -- let's see.        There's eight

          13    district stations with six squads per station.

          14    Eight times six, anyone?         Sorry.

          15                   MR. COCHRAN:   Forty-eight.

          16                   THE WITNESS:   All right.       So I would

          17    get -- I estimate half of those, 24.

          18    BY MS. BARDOT:

          19          Q        I don't understand what -- what that

          20    means, 24.       My question was:        How many times did

          21    you give roll call training on --

          22          A        Twenty-four.


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           1          Q        And are you able to tell me whether or

           2    not Jason Mardocco attended any one of those roll

           3    call trainings that you gave where you talked about

           4    human sex trafficking?

           5          A        I'm not able to tell you that.

           6          Q        How about Mike Barbazette?

           7          A        Yes.

           8          Q        Okay.   When?

           9          A        I -- I couldn't give you a specific time,

          10    but I do recall him being -- excuse me, at -- at

          11    two of the trainings.

          12          Q        Where were they?

          13          A        One was in McLean, at the McLean District

          14    Station, and the other one, I believe, was the

          15    Mount Vernon District Station.

          16          Q        Okay.   And do you know whether he

          17    actually sat through and listened to your roll call

          18    trainings on those two occasions?

          19          A        Yes, ma'am.

          20          Q        But you can't tell me when?

          21          A        I can't remember the exact dates, no,

          22    ma'am.


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           1          A        They -- they move around, but at the time

           2    it was in Arizona.

           3          Q        When did you do that?

           4          A        2014, '15, maybe.

           5          Q        Would it be fair to say over the course

           6    of time you've had hundreds of hours of training on

           7    human trafficking?

           8          A        I -- I don't know that that's fair.

           9          Q        Over 100?

          10          A        I -- I -- I don't know.

          11          Q        Okay.   More than 50?

          12          A        Possibly.

          13          Q        Okay.   And as best you know, Mike

          14    Barbazette has had maybe two and a half hours?

          15          A        Of formal training, yes, ma'am.

          16          Q        Okay.   Do you know about any other

          17    training that you believe Mike Barbazette to have

          18    received on human trafficking?

          19          A        Other -- other than multiple

          20    conversations that he and I had about my work.

          21          Q        Well, that wasn't training, was it?

          22          A        No, ma'am.


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           1    your expert opinions that you're going to offer?

           2          A        Yes, ma'am.

           3          Q        All right.    And as I understood you

           4    before, in order to draw any expert opinions,

           5    you've not reviewed the case file from the FBI

           6    related to Barbazette or Mardocco, correct?

           7          A        Correct.

           8          Q        And in order to provide expert opinion,

           9    you've not reviewed anything related to the Sanchez

          10    criminal file, correct?

          11          A        Correct.

          12          Q        And you haven't reviewed really anything

          13    other than some personnel records and the

          14    complaint, correct?

          15          A        And the -- the images.

          16          Q        And the images of the plaintiff in this

          17    case and Hazel Sanchez to see if you recognize

          18    them?

          19          A        Yes, ma'am.

          20          Q        Okay.   That's the extent of what you did?

          21          A        And the addresses that we spoke about

          22    earlier.


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           1          Q        Which were addresses where the plaintiff

           2    claims to have been victimized?

           3          A        Yes, ma'am.

           4          Q        Okay.   You haven't even talked to the

           5    plaintiff, right?

           6          A        Correct.

           7          Q        Okay.   And it says here in this first

           8    paragraph, second sentence -- oh, third sentence,

           9    "At the time I resigned my employment" -- from

          10    Fairfax County -- "in order to be able to pursue my

          11    professional goals related to human trafficking

          12    abatement."       Do you see that?

          13          A        Yes, ma'am.

          14          Q        When you resigned, you went to work for

          15    whom?

          16          A        MSCI.

          17          Q        And what did you do there?

          18          A        I was -- my title was vice president of

          19    training, and my role was to develop and deploy

          20    training relative to human trafficking.

          21          Q        Okay.   And how long did you stay there?

          22          A        About a year.


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           1          A        Yes, ma'am.

           2          Q        Who trained you that?

           3          A        That was -- that's standard training

           4    within the human trafficking space.            I'm sure it

           5    was part of the Advanced Human Trafficking

           6    Investigator School, as well as some of the other

           7    courses that I've taken.

           8          Q        Did you teach that particular con- -- did

           9    you teach that particular concept at any of these

          10    roll call trainings?

          11          A        Yes, ma'am.

          12          Q        And can you tell me whether you taught

          13    that at all of the roll call trainings?

          14          A        Yes, ma'am.

          15          Q        Okay.   And so you think the default is if

          16    somebody's in the commercial sex industry, by

          17    default they're trafficked?

          18          A        I think that it should be viewed

          19    defaultly (sic) until proven otherwise.

          20          Q        Okay.   And in this case you've done

          21    nothing to determine whether Jane Doe was

          22    trafficked or it could be determined otherwise,


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           1    correct?

           2          A        Correct.

           3          Q        And then you go on to say, "There were

           4    indeed few sex workers who were consenting

           5    participants."         Do you see that?

           6          A        What paragraph, ma'am?

           7          Q        We're still on five.

           8          A        Okay.

           9          Q        So it says, "This was the proper default

          10    assumption, given the sordid nature of this

          11    business, the omnipresence of organized gangs and

          12    sex trafficking organizations, and the fact that

          13    there were indeed few sex workers who were

          14    consenting" --

          15          A        Yes.

          16          Q        -- "participants."

          17          A        Thank you.

          18          Q        Sure.    Where do you derive that

          19    conclusion that "there were few sex workers who

          20    were consenting participants"?

          21          A        I -- I derive that from my knowledge

          22    through investigations and interviewing sex workers


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           1          A        Yes, ma'am.

           2          Q        You talked earlier about the addresses

           3    that Mr. Glasberg spoke to you about.            Are these

           4    those addresses?

           5          A        Yes, ma'am.

           6          Q        All right.     And you don't have any

           7    recollection of being at any of those particular

           8    addresses, do you?

           9          A        Not the exact addresses.

          10          Q        All right.     And with regard to the people

          11    who are listed here, Andrea Fairfax, et cetera, you

          12    don't have any factual information to suggest that

          13    you've ever been in contact with any of these

          14    persons, do you?

          15          A        That's correct.

          16          Q        And do you know who Andrea Fairfax is?

          17          A        I do not.

          18          Q        Have you ever spoken with Hazel Sanchez?

          19          A        No, ma'am.

          20          Q        To your knowledge, have you ever spoken

          21    with any of the people listed here in paragraph

          22    seven?


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           1          A        Not to my knowledge.

           2          Q        It says in paragraph eight, "While I was

           3    at the FCPD, a few police personnel, who had been

           4    trained on sex trafficking, nevertheless actively

           5    discouraged me from pursuing any (sic) ongoing

           6    investigation of sex trafficking in Fairfax."               Do

           7    you see that?

           8          A        Yes, ma'am.

           9          Q        The actively discouraged -- the active

          10    discouragement, is that what we've already talked

          11    about?

          12          A        Yes, ma'am.

          13          Q        And when you refer to "a few police

          14    personnel," who are you speaking of?

          15          A        I believe I go on to say the two officers

          16    I recollect were Sergeant Mike Barbazette and

          17    Captain James Baumstark.

          18          Q        Okay.   And as -- with respect to the

          19    training that you gave to Mike Barbazette or the

          20    training you are aware of that he had received,

          21    we've already talked about that, correct?

          22          A        Yes, ma'am.


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           1          Q        And so when you say in paragraph nine

           2    that, "Sergeant Barbazette had been fully trained

           3    on Fairfax's sex trafficking problems," tell me

           4    what you mean by that.

           5          A        I -- I went on to explain that because

           6    I -- I trained him so that he was in some of those

           7    trainings that we've -- we've already talked about,

           8    and then as I go on to say, "In several private

           9    discussions with him I explained and gave examples

          10    of how our local adult sex workers were almost

          11    entirely trafficked women, largely from

          12    Spanish-speaking or other foreign countries."

          13          Q        All right.    And that in your mind is

          14    fully -- being fully trained on sex trafficking

          15    problems in Fairfax County?

          16          A        I -- I believe so, yes.

          17

          18

          19

          20                                                    Are we

          21    talking about this one person?

          22          A        Yes, ma'am.


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           1          A        Based on training that -- that I had

           2    provided throughout the police department, as well

           3    as former Chief Rohrer was vocal on the issue as

           4    well.

           5          Q        Okay.    How many officers were at Fairfax

           6    County when you were there?

           7          A        I -- I would be taking a guess, but more

           8    than 1,000.

           9          Q        All right.    And so when you said most of

          10    those officers had been trained on sex trafficking,

          11    what does that mean?

          12          A        That -- that we had trained the majority

          13    in some form or fashion.          In some capacity we had

          14    provided training relative to this particular

          15    issue.

          16          Q        Right.    But I want to know what "most"

          17    means to you in that context, if there are 1,000

          18    officers.

          19          A        I -- I don't know.

          20          Q        As you sit here today, are you able to

          21    give me any factual information to state how many

          22    officers at Fairfax County had actually been


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           1    trained on sex trafficking?

           2          A        Not specific numbers.

           3          Q        Okay.   And what is the basis for your

           4    comment that, "I find it ludicrous for any trained

           5    FCPD officer not to assume that our local adult sex

           6    workers had been trafficked unless sufficient proof

           7    to the contrary was apparent"?

           8          A        Because it was in the training itself

           9    that that was not the -- the appropriate approach.

          10          Q        Anything else?

          11          A        No.   I think that the -- the comments

          12    referencing those that had gone through training.

          13          Q        Okay.   And whether there's "sufficient

          14    proof to the contrary in this case," you don't know

          15    because you haven't looked at any materials, right?

          16          A        That's correct.

          17          Q        And whether or not Mike Barbazette knew

          18    of any particular sex trafficking venture in

          19    Fairfax County, you also don't know that, correct?

          20          A        Can you ask the question again?         I'm

          21    sorry.

          22          Q        Sure.   Are you aware whether Mike


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           1    of the victims of those or the suspects?

           2          A        I would have to -- I'd have to think.

           3    Suspects, Michael Mains.          You put me on the spot

           4    here with these names.         Michael -- what was

           5    Michael's last name?         There's another Michael --

           6    was involved in that case.           Oh, my goodness.     I'm

           7    just drawing a blank on -- on those names.

           8          Q        Are you ever aware of Mike Barbazette

           9    having any interactions with any persons he knew to

          10    be involved in a sex trafficking venture?

          11          A        Can you say that one more time?

          12          Q        Are you aware of Mike Barbazette ever

          13    having any interactions with persons he knew or

          14    should have known to be involved in a sex

          15    venture -- sex trafficking venture?

          16          A        No direct knowledge.

          17          Q        Okay.   And would the answer be the same

          18    as to Mardocco?

          19          A        Correct.

          20

          21

          22


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           1




                          Do you see that?

           6          A        I do.

           7          Q        You've not looked at that documentation,

           8    correct?

           9          A        Correct.

          10          Q        And so any information you've been

          11    provided would be secondhand?

          12          A        Yes, ma'am.

          13          Q        And whether or not that documentation

          14    supports what's -- what is stated here, you don't

          15    know because you haven't seen it, right?

          16          A        Correct.

          17          Q        And you wouldn't know if Barbazette had

          18    any contact with Hazel Sanchez when that occurred,

          19    correct?

          20          A        Say that one more time.      Sorry.

          21          Q        If Barbazette had any contact with Hazel

          22    Sanchez, you would not know when that occurred,


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           1    correct?

           2          A        Correct.

           3          Q        And you would -- the answer would be the

           4    same for Mardocco, right?

           5          A        Correct.

           6          Q        And you don't have any information to

           7    suggest that Sergeant Barbazette knew the plaintiff

           8    in this case, correct?

           9          A        Correct.

          10          Q        Or knew that she was allegedly involved

          11    in a sex trafficking ring, correct?

          12          A        Correct.

          13          Q        And your answers to those two questions

          14    would be the same for Mardocco, correct?

          15          A        Correct.

          16          Q        You go on to say, "I find it hard to

          17    believe that they" -- speaking about Barbazette and

          18    Mardocco -- "did not know the women working for

          19    her" -- Hazel Sanchez -- "had been trafficked."

          20    What's the basis for that statement?

          21          A        All of what we've talked about up to this

          22    point that, you know, it -- it was discussed,


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           1    individuals were trained, the former chief talked

           2    about it openly.       And police officers are trained

           3    to look for victimized people, and so it -- it

           4    seems hard for me to believe that somebody would

           5    not look at that situation, know that trafficking

           6    exists in Fairfax County and not try to determine

           7    if they were a victim before assuming they were a

           8    consenting participant.

           9          Q        All right.    But you don't even know if

          10    Barbazette or Mardocco knew that any women worked

          11    for Hazel Sanchez, do you?

          12          A        I do not know that.

          13          Q        All right.    Give me just a minute.

          14          A        Yes, ma'am.

          15                   MS. BARDOT:    Let's go off for about five

          16    minutes.

          17                   THE VIDEOGRAPHER:     Going off the record

          18    at 5:09.

          19                   (Brief recess.)

          20                   THE VIDEOGRAPHER:     Back on the record at

          21    5:15.

          22    BY MS. BARDOT:


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           1    believed that there were other Fairfax County

           2    police officers as opposed to just officers

           3    extorting sex from the trafficking enterprises?

           4          A        I don't recall if that distinction was

           5    made.

           6          Q        Okay.   When you read this paragraph,

           7    then, did you take note of the fact that it said

           8    that there were victims who have reported multiple

           9    Fairfax County police depart- -- police officers

          10    involved in this activity?

          11          A        I think I read it in the context that we

          12    just discussed.

          13          Q        Okay.   All right.    So as you sit here

          14    today, the only -- you only had one victim give you

          15    one name of a Fairfax County Police Department

          16    officer who allegedly was extorting sex from the

          17    trafficking enterprise, right?

          18          A        That's correct.

          19          Q        And that person was not one of the

          20    defendants in this case?

          21          A        That correct.

          22          Q        Okay.


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